AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                             Middle District
                                             __________      of North
                                                         District     Carolina
                                                                  of __________


                          JOHN DOE                             )
                             Plaintiff                         )
                                v.                             )      Case No. 1:23-CV-114
              WAKE FOREST UNIVERSITY                           )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         WAKE FOREST UNIVERSITY                                                                                        .


Date:          02/09/2023                                                                 /s/ Alan M. Ruley
                                                                                         Attorney’s signature


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